                        Case 8:17-bk-09357-MGW              Doc 85      Filed 04/05/18      Page 1 of 1
                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                04/05/2018 09:30 AM

                                                                COURTROOM 8A

HONORABLE MICHAEL WILLIAMSON
CASE NUMBER:                                                    FILING DATE:

8:17-bk-09357-MGW                          7                       11/02/2017

Chapter 7

DEBTOR:                Zdravko Talanga

                       Darina Talanga

DEBTOR ATTY:           Herbert Donica

TRUSTEE:               Carolyn Chaney

HEARING:

Motion to Sell. Property description: 18400 US Highway 19 N., Clearwater, Florida. . Contains negative notice. Filed by Allan C
                        Watkins on behalf of Trustee Carolyn R. Chaney (Attachments: # [1] Mailing Matrix) (Watkins, Allan) Doc
                        #72
-Objection to Trustee's Motion to Sell Property Filed by Michael A Ziegler on behalf of Creditor EC Finance Inc (related
                        document(s)[72]). (Attachments: # [1] Exhibit # [2] Exhibit # [3] Exhibit # [4] Mailing Matrix) (Ziegler,
                        Michael) Doc #76

APPEARANCES::
Herb Donica for Dbtr, Allan Watkins for Trustee, Michael Ziegler for EC Finance, Inc.
RULING:
Motion to Sell. Property description: 18400 US Highway 19 N., Clearwater, Florida. . Contains negative notice. Filed by Allan C
Watkins on behalf of Trustee Carolyn R. Chaney (Attachments: # [1] Mailing Matrix) (Watkins, Allan) Doc #72 - Withdrawn

-Objection to Trustee's Motion to Sell Property Filed by Michael A Ziegler on behalf of Creditor EC Finance Inc (related
document(s)[72]). (Attachments: # [1] Exhibit # [2] Exhibit # [3] Exhibit # [4] Mailing Matrix) (Ziegler, Michael) Doc #76
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 8:17-bk-09357-MGW                        Chapter 7
